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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

  JOHN DAY,                    )
                               )
        Plaintiff,             )
                               )
  v.                           ) Civil Case No. 1:22-cv-22572
                               )
  VARUN DATTA, SARANSH SHARMA, )           Jury Trial Requested
  and 4NEW LTD.,               )
                               )
        Defendants.


                                    Complaint

       For his Complaint against Defendants Varun Datta (“Datta”), Saransh

 Sharma (“Sharma”) and 4NEW Ltd. (together with Datta, “4NEW”), Plaintiff John

 Day (“Day”) states as follows:



                                   Introduction

       1.      This is an action for fraud, theft and, in the alternative, unjust

 enrichment.

       2.      In 2018 4NEW began marketing and selling its proprietary

 cryptocurrency, called “KWATT.”

       3.      In 2018, Saransh Sharma was the President of 4NEW.

       4.      In 2018, Varun Datta was the Founder and Chairman of 4NEW.

       5.      In the summer of 2018, 4NEW communicated to Day that KWATT’s

 value derived from electrical power generated by power plants owned by 4NEW and

 located in Middlesbrough and Hartlepool in the United Kingdom.
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         6.    At that time and continuing to the present, 4NEW did not, and does not,

 own any power plants, and specifically did not own any power plants located in

 Middlesbrough and Hartlepool. 4NEW’s representations to Day were, therefore, false.

         7.    Beginning on August 21, 2018, and in reliance on 4NEW’s false

 assertions, Day transferred some of his valuable Etherium cryptocurrency (“ETH”) in

 exchange for 4NEW’s valueless KWATT.

         8.    Through January 3, 2019, Day continued to exchange his valuable ETH

 for 4NEW’s valueless KWATT in reliance on additional false assertions from 4NEW

 made directly and specifically to Day.

         9.    By January 3, 2019, Day had determined that many of 4NEW’s

 communications to him were both material and false.

         10.   4NEW and Datta never compensated Day in any way for Day’s loss of

 his ETH incurred in reliance upon 4NEW’s material and false communications.

         11.   Day filed this lawsuit to be made whole for the damage done by 4NEW’s

 lies.



                               Jurisdiction and Venue

         12.   Day is a citizen of Indiana, for purposes of diversity jurisdiction under

 28 U.S.C. § 1332, residing in St. Joseph County.

         13.   Datta is a United Kingdom citizen and has a Florida residence at 3131

 NE 7th Avenue, Unit 4304, Miami, FL 33137.




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       14.   Sharma is a citizen of Florida residing at 10201 Sheila Court,

 Wellington, FL 33414.

       15.   4NEW is a limited company formed under the laws of Britain and is a

 citizen of the United Kingdom for purposes of diversity jurisdiction under 28 U.S.C.

 § 1332, with its principal place of business at 6 Lanark Square, 2nd Floor, London,

 UK E14 SRE.

       16.   4NEW filed its Memorandum of Association as a Private Company

 Limited by Shares on October 3, 2017. See Ex. 1, Memorandum of Association of

 4NEW Limited at p. 1 (“Memorandum of Association”).

       17.   4NEW is a private limited company formed under the United Kingdom’s

 Companies Act of 2006, incorporated on October 4, 2017. See Ex. 2, Certificate of

 Incorporation of a Private Limited Company, Company Number 10994832.

       18.    4NEW has its primary office at Sheraton Skyline Hotel Bath Road,

 Harlington, Hayes, England UB3 5BP. See Ex. 3, Change of Registered Office Address

 for 4NEW Limited.

       19.   4NEW has 100 shares allotted. See Ex. 4, Application to Register a

 Company at p.3.

       20.   Mr. Qayyum Rahim (“Rahim”) holds all 100 shares of 4NEW. See Ex. 5,

 May 31, 2020 Confirmation Statement for 4NEW Limited at p.2.

       21.   Rahim is a citizen of England and a British national. See Ex. 6, May 19,

 2020 Notice of Individual Person with Significant Control.




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          22.   As part of 4NEW’s activities to market and sell KWATT, it availed itself

 of Indiana’s market through the internet and world wide web, specifically

 communicating with Day, all while Day was located in and a citizen of St. Joseph

 County, Indiana.

          23.   Further, Datta directly messaged Day while Datta was either located in

 Miami-Dade County, Florida or the United Kingdom.

          24.   Sharma also messaged Day while Sharma was located in Miami-Dade

 County, Florida.

          25.   This Court has subject-matter jurisdiction over Day’s claims under 28

 U.S.C. § 1332(a)(2) because (i) Day and the Defendants, Datta and Sharma, are

 citizens of different U.S. states and 4NEW is a citizen of a foreign state, and (ii) the

 amount in controversy exceeds the sum or value of $75,000, exclusive of interest and

 costs.

          26.   Venue of this action in the Southern District of Florida, Miami Division,

 is proper under 28 U.S.C. § 1391(b) because all or a substantial part of the events or

 omissions giving rise to Day’s claims occurred in this district.



                                  General Allegations

    A. 4NEW Lied to Day About the Assets Providing Value to its
       Cryptocurrency.

          27.   In 2018 4NEW began marketing and selling its proprietary

 cryptocurrency, KWATT.




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       28.     In March 2018, Sharma stated that KWATT is an ERC20 token that is

 a smart contract that the holder of KWATT has a power purchase agreement with a

 powerplant.

       29.     Sharma further stated that the KWATT token could be staked for its

 cryptocurrency miners to consume and then the utility bill would be paid back

 quarterly to the KWATT token holder.

       30.     In the summer of 2018, 4NEW communicated to Day that KWATT’s

 value derived from electrical power generated by power plants located in

 Middlesbrough and Hartlepool in the United Kingdom and owned by 4NEW.

 Specifically, 4NEW stated that:

               a.    “4NEW’s power plants earn enough revenue from cleaning city

       waste and governmental incentives to cover the entire costs of the power

       plant.”;

               b.    “4NEW have [sic] managed to aquire [sic] 2 [power] plants…”

       31.     These statements were false.    At that time and continuing to the

 present, 4NEW did not, and does not, own any power plants, and specifically did not

 own any power plants located in Middlesbrough and Hartlepool.

    B. Day Relied on 4NEW’s Material Lies and, as a Result, Lost
       His Valuable Property.

       32.     In reliance on 4NEW’s false assertions identified above, on August 21,

 2018, Day began transferring his valuable ETH in exchange for 4NEW’s valueless

 KWATT.




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       33.   Thereafter, Datta reinforced 4NEW’s lies with additional false

 statements made directly to Day via direct messaging, including:

             a.     Datta’s false statement that “We have partnered with bitfury”

       made directly to Day on October 5, 2018;

             b.     Datta’s false statement that “The video is the same miners” made

       directly to Day on October 8, 2018;

             c.     Datta’s false statement that “Everything is on track we are

       currently mining as we talk” made directly to Day on October 16, 2018;

             d.     Datta’s false statement that “till the date BTC was above $4100

       we were making enough profit to make the payments” made directly to Day on

       November 27, 2018;

             e.     Datta’s false statement that “[Withdrawals for January are] in

       test mode” made directly to Day on December 12, 2018; and

             f.     Datta’s false statement that “Withdrawal functionality is live as

       promised” made directly to Day on December 15, 2018.

       34.   In reliance on one or more of these specific lies from Datta and/or

 Sharma, Day exchanged his valuable ETH for 4NEW’s valueless KWATT over one

 hundred times between August 21, 2018 and January 3, 2019.

       35.   By January 3, 2019, Day had concluded that many of 4NEW’s

 communications to him were both material and false.

       36.   On January 3, 2019, Day said to Datta via direct messaging, “You lied

 to me - directly”, after which he demanded repayment.




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       37.    On July 6, 2022, Day mailed to all Defendants a draft copy of this

 Complaint along with a demand letter pursuant to F.S.A. § 772.11. To date,

 Defendants have made no response.


                                   Claims for Relief

                                   Count I – Fraud

       38.    Day incorporates the previous allegations into this paragraph.

       39.    4NEW, Datta and Sharma made false statements of past or existing fact

 to Day. Specifically, 4NEW lied to Day as detailed in Paragraphs 18 and 21.

       40.    4NEW, Datta and Sharma knew the statements were false, or made the

 statements recklessly, with disregard as to their truth or falsity.

       41.    4NEW, Datta and Sharma made the false statements intending that

 Day would act upon them by transferring Day’s valuable property for 4NEW’s benefit,

 and with the intent to deprive Day of his valuable property. Indeed, the entire basis

 for Datta’s communication with Day was transactional; It was to encourage Day’s

 exchange of his valuable property for 4NEW’s valueless KWATT.

       42.    Day justifiably or reasonably relied and acted upon 4NEW, Datta and

 Sharma’s false statements. Others relied and acted upon 4NEW’s false statements

 like Day did, and Day engaged in personal communication with Datta to conduct due

 diligence before future exchanges of Day’s ETH for KWATT.

       43.    Day was damaged as a result. Specifically, and amongst other damages,

 Day lost possession of his valuable ETH due to 4NEW, Datta and Sharma’s fraud.

                                Count II – Civil Theft



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       44.    Day incorporates the previous allegations into this Paragraph.

       45.    4NEW, Datta and Sharma unlawfully obtained Day’s valuable property.

       46.    4NEW, Datta and Sharma made false statements of past or existing fact

 to Day. Specifically, 4NEW lied to Day as detailed in Paragraphs 18 and 21.

       47.    4NEW, Datta and Sharma knew the statements were false, or made the

 statements recklessly, with disregard as to their truth or falsity.

       48.    4NEW, Datta and Sharma made the false statements intending that

 Day would act upon them by transferring Day’s valuable property for 4NEW’s benefit,

 and with the intent to permanently deprive Day of his valuable property. Indeed, the

 entire basis for Datta’s communication with Day was transactional; It was to

 encourage Day’s exchange of his valuable property for 4NEW’s valueless KWATT.

       49.    Day was damaged as a result. Specifically, and amongst other damages,

 Day lost possession of his valuable ETH due to 4NEW, Datta and Sharma’s theft.

     Count III – Unjust Enrichment/Quantum Meruit (in the alternative)

       50.    Day incorporates the previous allegations into this paragraph.

       51.    Day transferred his valuable ETH in exchange for valueless KWATT at

 4NEW’s request.

       52.    4NEW, Datta and Sharma’s lies induced Day to provide his valuable

 ETH for valueless KWATT for the benefit of 4NEW, which is unfair to Day.

       53.    Compensation to Day is necessary to prevent 4NEW, Datta and Sharma

 from being unjustly enriched at Day’s expense.

       WHEREFORE, Day respectfully requests judgment in his favor and against




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 Datta, Sharma and 4NEW, including the following:

       A. An award of damages to compensate Day for his losses;

       B. Treble damages under Florida common law applicable to claims alleging

           fraud and theft;

       C. An award of attorney’s fees under Florida common law applicable to claims

           alleging fraud and theft;

       D. An award of prejudgment and post judgment interest; and

       E. All other legal and equitable relief just and proper under the circumstances.



                                  Jury Trial Demand

 Day requests a jury trial on all issues so triable.




                                          Respectfully submitted,

                                          /s/ Jonathan S. Lawson

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